

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,302






EX PARTE WILLIAM LEE NISWANGER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM FREESTONE COUNTY






	Johnson, J., filed a dissenting opinion. 



D I S S E N T I N G   O P I N I O N




	Applicant was selling raffle tickets in the parking lot of a grocery store, with the manager's
permission.  There is nothing in the record that supports a conclusion that applicant was holding
himself out as a fireman, regular or volunteer, in an effort to entice shoppers to purchase a ticket. 
The only evidence is the offense report of an officer who was investigating a complaint by the mayor
that applicant did not have the proper approval from the city to sell raffle tickets.  That report reveals
that applicant is six feet tall and weighs 400 pounds.  He, according to her report, made no claim of
being a fireman until she asked him for identification.

	Officer Solly's report indicates that she went to the grocery store to investigate after the
mayor reported the violation of a Teague city ordinance. 

	On the date and time listed above, and at the Teague City Hall in Teague, TX,
Freestone County, I did receive a complaint from Mayor Jacqueline Utsey in
reference to a subject at Brookshire Brothers in Teague, TX soliciting citizens for the
fire fighters fund.  She also stated that he did not have a permit to do so (per: Teague
Code of Ordinances 4.502 application; information to be contained; permit).  Witness
Utsey also stated that on 08/29/2008 at approximately 10:30 am, she went to
Brookshire Brothers and there was a white male sit[t]ing at a table soliciting on
behalf of the volunteer fire department.  He also asked if she was a hunter.  She told
him no and went into the store.  When she returned, she asked him if he would be
here a while.  He stated that he would be there about 45 more minutes.  He also stated
that part of the money would go to soldiers in Iraq, and part would go to the fire
department.  She thanked him for the information, and left.  That is when she came
and found me.


	S[g]t. J. Monks and myself then went up to Brookshire Brothers, and did observe a
white male sitting at a table with a bunch of flyers taped to it.  The flyers stated that 
he was collecting money for fire fighters, Marines in Iraq, and the Roping the Wind
Foundation.  When I walked up to the subject, I asked him what he was raising
money for.  He stated to me that he was raising money for fallen fire fighters and our
soldiers.  He then asked me if I would like to buy a raffle ticket.  I then asked him if
he was a fire fighter, and he said yes.  He then showed me a Grandview Fire
Department identification card in an attempt to have me donate to him.  I made the
subject aware of the violation of city ordinance 4.502 (permits required from
solicitors).  I then identified him as William Lee Niswanger (W/M, DOB:
07/22/1965, TXDL# 14684108).  I asked the suspect what he was doing.  He then
stated that he was raising money for the fire fighters.  I asked him if he was a fire
fighter.  He stated that he was a approximately [sic] with Grandview Fire
Department.  I then asked to see his credentials.  He showed me a Grandview
approximately [sic] badge that was in a brown wallet, and a Grandview
approximately [sic] identification card that was in his back pocket as well.   I then
asked the suspect what he had in the brown cardboard box that was on the table, he
said that it was just some stuff that he needed.  I asked him if I could look in the
brown box.  He gave me consent.  I did recover a 6" knife that was not in its sheath. 
I asked him what it was doing there, and he stated that he did not know that it was
there.  I also recovered a roll of unused blue raffle tickets.  I then asked the suspect
how much money that he had raised; he stated that he had raised about seventy
dollars or so.  I asked him if I could look in his solicitation jar that was on the table
as well.  He gave me consent.  I did recover about 20 to 30 assigned raffle tickets
inside the jar.  I asked him where the rest of the money was.  He had told me earlier
the rest of the money was in his back pocket. He then retrieved about sixty dollars. 
I then asked him if that was his white Ford van parked close by.  He stated that it was
and then gave me consent to search his van.  I did recover more items from the van
(see itemized property list.)  I then asked the suspect to follow me up to the police
station to have a further talk.  He did agree to do so.


	When we arrived at the police station, I had witness Utsey make a positive ID on the
subject that solicited her at Brookshire Brothers.  She did positively identify him. 
She then gave a witness statement as to the fact.  I also had her write me a statement
as to the previous incident that day.  She did so.  The subject was then Mirandized. 
I then advised him that he was under arrest.  He then made a statement that he was
collecting money for a foundation that he created.  He also advised me that he was
a approximately [sic].  I then had Sgt. J. Monks contact Grandview Fire Department,
to ascertain his employment.  S[g]t. Monks spoke with the treasurer of the Fire
Department who he identified as Bryan Anderson.  Mr. Anderson stated that he was
not shown as a volunteer of any kind.  (Grandview V.F.D.  Contact info. 1-817-866-2333). [Van towed, applicant booked into Freestone County jail, questioned further,
gave consent to search of his residence.] 


	According to Officer Solly's report, the mayor did not assert that applicant claimed to be a
fireman or that he used that claimed status to induce her to buy a raffle ticket; she complained only
because she believed that he was violating a city ordinance.  Officer Solly's report is repetitive in
a way that distorts the chronological order of events and the motivation for showing fire fighter
identification.  First she says that, after he asked her if she wanted to buy a raffle ticket, she asked
him if he were a fireman.  He said, "Yes," and showed identification "in an attempt to have me
donate to him."  Three sentences later in her report, she stated that she asked applicant if he were a
fire fighter and then asked him for his identification, which he showed to her.  These two
chronologies cannot both be true.  Regardless of which sequence is taken as true, however, applicant 
made no claim of being a fireman until Officer Solly asked him if he was one.

	There is no assertion that applicant was wearing any part of a fireman's uniform or any
insignia of a fireman.  Common sense tells a reasonable person that someone who is six feet tall and
weighs 400 pounds is not a fireman.  There is no evidence that he asserted to any person other  than
a uniformed police officer, upon her request and after his inquiry as to whether she wanted to buy
a raffle ticket, that he was a fireman, only evidence that he claimed that he was collecting money and
selling raffle tickets for the benefit of fire fighters.

	The statute states that

(a) A person commits an offense if he:

     (1) impersonates a public servant with intent to induce another to submit to his
pretended official authority or to rely on his pretended officials acts; or

     (2) knowingly purports to exercise any function of a public servant or of a public
office, including that of a judge and court, and the position or office through which
he purports to exercise a function of a public servant or public office has no lawful
existence under the constitution or laws of this state or of the United States.


Texas Penal Code, section 37.11. 


	The indictment filed by the district attorney stated that

Applicant did then and there impersonate a public servant, namely a fireman, with
intent to induce Shawn Solly to submit to the pretended official authority of the
defendant or to rely on the pretended official acts of the defendant by showing a
badge and identification to induce the purchase of raffle tickets for fire fighter fund.


	Assuming without deciding that a volunteer fire-fighter is a public servant, there is no
evidence that selling raffle tickets is an "official act."  Fire fighters, in uniform and on their own
time, sometimes solicit funds for charity at stop lights, but their mere status as public servants does
not elevate such solicitation to an "official act."   Fire fighters may, as a part of their "official
authority" or as a "function of a public servant," command citizens to stay away from a fire or to
refrain from "helping" them fight a fire.  They do not, as a part of their "official authority," have the
power to make citizens throw money into a boot or buy raffle tickets, nor are those things a "function
of a public servant."  There can be no inducement to "submit to his pretended official authority"
when the charged act is not within any official authority of a public servant.

	Applicant was guilty of unlawfully carrying a weapon, the 6" knife, and he may have been
guilty of fraud or theft.  He was in no way guilty of impersonating a public servant.  

	I conclude that applicant has proven by a preponderance of the evidence that his counsel's
performance was deficient.   He has also shown that there is a reasonable probability that, but for
counsel's deficient representation, he would not have plead guilty and would have insisted on going
to trial.  Therefore, I would find that applicant's plea was not knowing and voluntary.  He is entitled
to relief.  Because the Court does not grant him that relief, I dissent.


Filed: March 16, 2011

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